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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No.

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 1.     121 ASH ROAD, BASALT, COLORADO,
 2.     APPROXIMATELY $77,888,782.61 HELD AND FROZEN IN MIRABAUD BANK
        ACCOUNT #509951,

            Defendants.
 ______________________________________________________________________

               WARRANT FOR ARREST OF PROPERTY IN REM
 ______________________________________________________________________

 TO: UNITED STATES MARSHALS SERVICE AND/OR ANY OTHER DULY
 AUTHORIZED LAW ENFORCEMENT OFFICER:

        PURSUANT to the Order for Warrant for Arrest of Property In Rem issued by this

 Court, YOU ARE HEREBY COMMANDED TO ARREST AND SEIZE as soon as

 practicable, the following defendant asset described in the Verified Complaint for

 Forfeiture In Rem filed herewith, and to use whatever means may be appropriate to

 protect and maintain it in your custody until further order of this Court:

        Approximately $77,888,782.61 held and frozen in Mirabaud Bank Account
        #509951

        DATED this          day of ______________2021.


                                                   JEFFREY P. COLWELL
                                                   Clerk of the U.S. District Court



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                                      By: _____________________________
                                          Deputy Clerk




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